Case 9:18-bk-11122-DS         Doc 18 Filed 10/02/18 Entered 10/02/18 16:38:25                Desc
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 1
     Jeremy W. Faith
 2   16030 Ventura Blvd., Suite 470
     Encino, CA 91436
 3   Tel: (818) 705-2777

 4   Chapter 7 Trustee

 5

 6                               UNITED STATES BANKRUPTCY COURT
 7                CENTRAL DISTRICT OF CALIFORNIA, NORTHERN DIVISION
 8

 9
     In re                                               Case No. 18-11122-DS
10
     JAYMI MANTZ                                         Chapter 7
11
                    Debtor(s).                           NOTIFICATION OF ASSET CASE
12
                                                         [No Hearing Required]
13

14
     TO KATHLEEN J. CAMPBELL, CLERK OF THE UNITED STATES BANKRUPTCY
15
     COURT:
16           Jeremy W. Faith, the duly appointed Chapter 7 Trustee in the above-captioned bankruptcy
17   case, after reviewing the case docket and file and determining that no claims bar date has been fixed,
18   hereby notifies the Clerk of the United States Bankruptcy Court that assets may be administered in
19   the above-captioned case and appropriate notice be given to creditors to file claims.
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      Dated: October 2, 2018                                /s/ Jeremy W. Faith
21                                                    Jeremy W. Faith, Chapter 7 Trustee

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                              NOTIFICATION OF ASSET CASE - CASE NO. 18-11122-DS
